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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:08-CR-64 JCM (GWF)
                 8                                             Plaintiff(s),                     ORDER
                 9              v.
               10        STEVEN GRIMM, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is the case of The United States of America v. Steven Grimm,
               14       case no. 2:08-cr-00064-JCM-GWF.
               15              On January 7, 2016, this court ordered defendant Eve Mazzarella, who had previously been
               16       released from custody pending appeal, to self-surrender to the Bureau of Prisons facility from
               17       which she was released before 2:00 P.M. on Thursday, January 14, 2016. (Doc. # 665). On January
               18       13, 2016, Ms. Mazzarella filed a motion in the United States Court of Appeals for the Ninth Circuit
               19       for bail pending a renewed appeal. (See doc. # 667). Defendant indicated that she would not self-
               20       surrender on January 14, 2016, based on the motion pending before the Ninth Circuit. On February
               21       5, 2016, the Ninth Circuit entered an order denying Ms. Mazzarella’s motion for bail pending
               22       appeal. (Doc. # 674).
               23       ...
               24       ...
               25       ...
               26       ...
               27       ...
               28

James C. Mahan
U.S. District Judge
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                1              Accordingly,
                2              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Eve
                3       Mazzarella shall self-surrender before 2:00 P.M. on Wednesday, February 10, 2016, to the
                4       Bureau of Prisons facility from which she was released.
                5              DATED February 5, 2016.
                6                                                   __________________________________________
                                                                    UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                   -2-
